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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  IN RE: HAIN CELESTIAL HEAVY METALS BABY
  FOOD LITIGATION

  This Document Relates to:                               Case No. 2:21-cv-00678-JS-AYS

  No. 1:21-cv-00870 (M. Walls)




           MOTION FOR LEAVE TO WITHDRAW AS COUNSEL OF RECORD

         PLEASE TAKE NOTICE that, upon the accompanying affidavits of William C.

 Carmody, Steven M. Shepard and Arun S. Subramanian, I hereby move this Court, pursuant to

 Local Civil Rule 1.4 of the Local Rules of the United States District Court for the Eastern District

 of New York, for an Order (1) permitting the withdrawals of William C. Carmody, Steven M.

 Shepard and Arun S. Subramanian as counsel for Plaintiffs in the above-captioned matter and (2)

 removing these attorneys from the Case Management/Electronic Case Filed (CM/ECF)

 notification list in this matter.

         Plaintiffs will continue to be represented by attorney Christopher K. Leung of Pollock

 Cohen L.L.P.

 Dated: June 29, 2021


                                                      Respectfully submitted,

                                                      SUSMAN GODFREY, L.L.P.

                                                      By: /s/ Steven M. Shepard
                                                      Steven M. Shepard
                                                      William Christopher Carmody
                                                      Arun Subramanian
                                                      1301 Avenue of the Americas, 32nd Fl.
                                                      New York, New York 10019
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                                          Attorneys for Plaintiff, Michelle Walls
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                                CERTIFICATE OF SERVICE

        Steven M. Shepard, an attorney, hereby certifies that he caused the above and foregoing

 Motion for Leave to Withdraw as Counsel of Record to be served upon counsel of record in this

 case via the CM/ECF System on this day June 29, 2021


                                                           /s/ Steven M. Shepard
                                                           Steven M. Shepard
